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AO 91 (Rev. 11/1) Criminal Complaint Fel VY)
Sega
UNITED STATES DISTRICT COURT yy 19 2019

for the

 

 

Southern District Of Texas Oavid J. Bradt ci
United States of America ) °%, Clerk of Cours
Vv. )
) Case No. RE \Q-myj- 15)
Rene GARCIA-Cantu
)
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of 2/10/2016 in the county of Cameron in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description

Possession with intent to distribute
exceeding 100 kilograms of marijuana, a
21 U.S.C. 841 & 846 schedule I controlled substance;
Conspiracy to possess with intent to
distribute 235 kilograms of marijuana, a
schedule I controlled substance.

This criminal complaint is based on these facts:

See attachment

Continued on the attached sheet.

 

 

ompltinarkg signature
James Gran , DEA Task Force Agent

Printed name and title

 

Sworm to before me and signed in my presence.
Date: 7/19/2019 Lead Myrgf—

Judges “f
City and state: Brownsville, Texas Ronald G, Morgan,U.S, Magistrate Judge
Printed name and title
‘

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United States 07/19/2019
V.
Rene GARCIA-Cantu
“RS -\A-MS- 15 |
ATTACHMENT
(AFFIDAVIT CONTINUED)

On July 17, 2019, at approximately 1800 hours, U.S. Border Patrol agents discovered foot sign leading
north away from the Rio Grande River near La Paloma, Texas. Agents followed the foot sign until
encountering one male subject later identified as Rene GARCIA-Cantu. GARCIA was determined to be
illegally in the U.S. by U.S. Border Patrol agents and transported to the Harlingen, Texas Border Patrol station
for processing.

U.S. Border Patrol agents conducted record check on GARCIA and determined that he was a subject of
investigation for the Drug Enforcement Administration. DEA agents were contacted and interviewed GARCIA
on July 18, 2019 at the Harlingen, Texas Border Patrol Station. Agents had identified GARCIA as a subject of
investigation and a conspirator in the smuggling of narcotics into the U.S.

On July 18, 2019, agents interviewed GARCIA and advised him of his Miranda Rights. GARCIA
agreed to speak without the presence of an attorney, and admitted to knowingly and intentionally transporting
illegal narcotics into the U.S. The interview for GARCIA was recorded by agents via audio.

GARCIA stated that he held a leadership role working for the Gulf Cartel (CDG) smuggling marijuana
into the U.S. from January 2016 to January 2019 time period. GARCIA stated that he oversaw the smuggling
of marijuana from Caricitos, Texas to the Los Indios, Texas area. GARCIA stated that he would smuggle
approximately 300 kilograms of marijuana three (3) times a week into the U.S. GARCIA stated that he would
make a profit of approximately $302,400 USD per year. Agents were aware that GARCIA coordinated
approximately 235 kilograms marijuana load on February 10, 2016, in Cameron County, Texas. GARCIA
specifically stated that he coordinated the smuggling of approximately 235 kilograms of marijuana on or around
February 10, 2016 in Cameron County, Texas. This load of marijuana was seized by U.S. Border Patrol on that
date, was tested, and found to contain properties consistent with marijuana. GARCIA possessed with intent to
distribute approximately 235 kilograms of marijuana and conspired to do the same.

 

 

Signatpre of Complainant
Sworn to before me, and subscribed in my presence,

July 19, 2019 at Brownsville, Texas
Date City and State

Ronald G. Morgan,I.S. Magistrate Judge Leet -g —
/

Name and Title of Judicial Officer Signature of Judicial
